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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA



United States of America,
                                                        Criminal No. 20-076 (PAM/TNL)
                        Plaintiff,

v.
                                                       ARRAIGNMENT NOTICE AND
Muhammad Masood,                                          SCHEDULING ORDER

                        Defendant.



         PLEASE TAKE NOTICE that an arraignment hearing will be held before the

undersigned United States Magistrate Judge on August 2, 2022 at 1:30 p.m., in

Courtroom 9W, U.S. Courthouse, 300 South Fourth Street, Minneapolis, Minnesota

55415.

         FURTHER, IT IS HEREBY ORDERED that the following schedule shall

govern these proceedings:

         1.       The government must make all disclosures required by Federal Rule of

Criminal Procedure 16(a) by June 24, 2022. D. Minn. LR 12.1(a)(1). In order to avoid

the need for a recess of the motions hearing, the government is requested to make, by

June 24, 2022, all disclosures which will be required by Fed. R. Crim. P. 26.2 and 12(h).

         2.       Pursuant to the Due Process Protections Act, the Court confirms the United

States’ obligation to disclose to the defendant all exculpatory evidence- that is, evidence

that favors the defendant or casts doubt on the United States’ case, as required by Brady
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v. Maryland, 373 U.S. 83 (1963) and its progeny, and orders the United States to do so.

Failure to do so in a timely manner may result in consequences, including, but not limited

to, exclusion of evidence, adverse jury instructions, dismissal of charges, contempt

proceedings, disciplinary action, or sanctions by the Court.

        3.       Defendant must make all disclosures required by Federal Rule of Criminal

Procedure 16(b) by July 1, 2022. D. Minn. LR 12.1(a)(2).

        4.       All motions in the above-entitled case must be filed and served consistent

with Federal Rules of Criminal Procedure 12(b) and 47 on or before July 8, 2022. 1 D.

Minn. LR 12.1(c)(1). Two courtesy copies of all motions and responses must be

delivered directly to the chambers of Magistrate Judge Leung. 2

        5.       Counsel must electronically file a letter on or before July 8, 2022 if no

motions will be filed and there is no need for hearing.

        6.       All responses to motions must be filed by July 22, 2022. D. Minn. LR

12.1(c)(2).

        7.       Any Notice of Intent to Call Witnesses must be filed by July 22, 2022. D.

Minn. LR. 12.1(c)(3)(A).

        8.       Any Responsive Notice of Intent to Call Witnesses must be filed by July

27, 2022. D. Minn. LR 12.1(c)(3)(B).




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        “Before filing a motion under Fed. R. Crim. P. 12(b), the moving party must confer with the responding
party. The parties must attempt in good faith to clarify and narrow the issues in dispute.” D. Minn. LR 12.1(b).
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        U.S. Mail or hand-deliver to 300 South Fourth Street, Suite 9W, Minneapolis, MN 55415.

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      9.       A motions hearing will be held pursuant to Federal Rules of Criminal

Procedure 12(c) where:

               a.    The government makes timely disclosures and Defendant identifies
                     in the motions particularized matters for which an evidentiary
                     hearing is necessary; or

               b.    Oral argument is requested by either party in its motion, objection or
                     response pleadings.

      10.      If required, the motions hearing must be heard before Magistrate Judge

Tony N. Leung on August 2, 2022, at 1:30 p.m., in Courtroom 9W, U.S. Courthouse,

300 South Fourth Street, MINNEAPOLIS, Minnesota. D. Minn. LR 12.1(d).

      11.      TRIAL:

               a.    IF NO PRETRIAL MOTIONS ARE FILED BY DEFENDANT:

the following trial and trial-related dates are:

               All voir dire questions and jury instructions must be submitted to Senior

District Judge Paul A. Magnuson on or before October 24, 2022.

               This case must commence trial on November 14, 2022, at 9:00 a.m. before

District Judge Magnuson in Courtroom 7D, Warren E. Burger Federal Building and U.S.

Courthouse, 316 North Robert Street, SAINT PAUL, Minnesota.

               b.    IF PRETRIAL MOTIONS ARE FILED, the trial date, and

other related dates, will be rescheduled following the ruling on pretrial motions.

Counsel must contact the Courtroom Deputy for District Judge Magnuson to

confirm the new trial date.



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Dated: June 17, 2022               s/Tony N. Leung
                                   TONY N. LEUNG
                                   United States Magistrate Judge




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